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                 Exhibit A
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This handbook does not constitute a contract with Trinity Teen Solutions, Inc., either express or
implied, and Trinity Teen Solutions, Inc. reserves the right at any time to change, delete, or add to
any of the provisions at its sole discretion. Furthermore, the provisions of this handbook are
designed by Trinity Teen Solutions, Inc. to serve as guidelines rather than absolute rules, and
exceptions may be made from time to time on the basis of particular circumstances.



                          Parent Handbook
                           Trinity Teen Solutions, Inc.
                        89 Road 8 RA Powell, WY 82435
                   Phone (307) 645-3384 Fax (307) 645-3385
                    Email: admissions@trinityteensolutions.com
                     Web page: www.trinityteensolutions.com


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Parents are striving to help their daughter’s from their self-destructive path. You are responding
to only what she has not been able to successfully hide from you. You asked for help knowing only
the tip of the ICEBERG! Trinity’s goal is to discover and heal the hidden part of the iceberg.

“No person can consistently behave in a way that’s inconsistent with the way they perceive
themselves”
        This picture of an iceberg illustrates nicely the work that we have in store for us.




                                                              Now you know why the Titanic sank.
                               This photograph came from a Rig manager for Global Marine Drilling in St. John, Newfoundland.
                               They actually have to divert the path of these things away from the rig by towing them with ships.
  In this particular case the water was calm and the sun was almost directly overhead so that the diver was able to get into the water and click this picture.
                                                 They estimated the weight at 300,000,000 tons



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         Welcome to Trinity Teen Solutions!
Dear Parents:

We would like to welcome you, your daughter, and your entire family to Trinity Teen Solutions, Inc.
We want you to know that we understand how difficult it is for parents to make this decision to
have their daughter placed outside their home, and it is therefore, our goal to be of service to
both you and your daughter.

This handbook has been created to give you and your family some information, guidelines and
methods of handling at-risk girls which we have found to be successful. These methods have
helped us to bring about behavioral changes in the girls we treat. We feel that this information
will provide you with some tools that will help you to create a similar environment and structure to
the one at Trinity, through which your daughter will encounter and embrace the wonder of
transformation. With your commitment and active participation in this process, your daughter will
be able to work through the program with greater efficacy, and will transition back into your home
more smoothly and successfully.

We encourage you to read this handbook thoroughly, and try to follow the suggestions in it. We
understand that it may be difficult for you to imagine your daughter forgiving you after such a
drastic decision on your part, or to imagine she will understand that “tough love” works for her
ultimate good whether she likes it or not. You may be tempted to want to ease the pain that you
imagine she must surely be going through. We want to encourage and support you through this
trying time. We also want to assure you that your daughter will understand that you made this
decision because you want only her success as she grows into adulthood. As her understanding and
appreciation grows, she will respect and love you even more for the risk you were willing to take for
her well-being. As you follow the suggestions in this Parent Handbook, she will also know that she
will not be able to continue the patterns of behavior that forced you to look at placement outside
your home. With your participation and willingness to implement changes in your own life and in
your parenting style, her long-term success is virtually guaranteed!

If you have any questions, please call the office. If you have questions regarding the things your
daughter is writing to you in her letters or what to write in your own, we encourage you to speak
freely and openly with us. We always strive to have open communication with you.

Again, we want to welcome you to our family. With your help and support, your daughter will be
coming home soon, and hopefully making good choices in her life.

God Bless,



Jerry and Angie Woodward
Directors

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                         How to Contact Trinity
You may call Trinity Teen Solutions, Inc. and ask for your daughter’s therapist and/or
advisor by calling (307)645-3370, or you may call Jerry or Angie Woodward by calling,
(307) 645-3384. You can also email, fax or write, see below contact information.



Remember: we are a residential treatment center that utilizes outdoor behavioral
health; therefore, we are out in the field most of the time working with the girls. Please
be patient with us. Leave a message on voice mail when you call and we will get back to you
just as soon as we can.

NEVER GIVE OUT YOUR DAUGHTER’S WHERE ABOUTS TO ANYONE! THIS IS
FOR HER SAFETY AND FOR ALL OF TRINITY.




                           Contact Information:

                          Jerry and Angie Woodward
                          Trinity Teen Solutions, Inc.
                                 89 Road 8 RA
                               Powell, WY 82435

                      Phone (307) 645-3384 (confidential)
                       Fax (307) 645-3385 (confidential)

        Email: admissions@trinityteensolutions.com                             (confidential)
                            Email your daughter’s advisor at
                 Insert first name of advisor@trinityteensolutions.com




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rinity Teen Solutions—Who Are We?




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            What you can expect from Trinity
At Trinity Teen Solutions, Inc we strive for excellence in education, attitude, holiness, and service. We hope to instill
into the youth a sense of belonging to something bigger than themselves and an understanding that a life of giving rather
than taking will ultimately make them complete. It is our goal to teach each girl respect for the dignity of human life and
a responsibility toward others.

We will do our best in every way possible to work with your child and with your family to make changes that will help
eliminate the problems that caused you to look to Trinity for help.

We will strive to provide the best care possible for your daughter while she is at the Ranch, and provide an atmosphere
in which she can grow physically, mentally, emotionally, socially and spiritually.

We will attempt to teach her skills that will help her have positive relationships in life and help her in communicating with
others. We will strive to help her learn and apply everyday living skills, and to adapt problem-solving techniques in
meeting the demands life places on her.

We will strive to be open in our communication, honest in trying to work with you and your child, and trustworthy to
strive to complete the task you have placed in our hands.




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  TTS Program Philosophies


                               Philosophy
By removing young women from their usual surroundings, we challenge                        Mission Statement
old problematic behaviors and promote personal growth. By changing
                                                                                  Trinity Teen Solutions focuses on each
their settings, daily routines, manner of dress and relationship with God,
                                                                               young woman’s uniqueness, helping her to find
they are able to redefine and rediscover their unique identity with
                                                                              the beauty within, heal past wounds, grow inner
emphasis upon God-given dignity, personal responsibility and right action.
                                                                                 strength, instill a conscience and learn to
                                                                                     manage herself in today’s society.




                                     Objectives
                 •   To develop a strong sense of self, including
                                                                                           Clinical Assessment
                     strengths and limitations                                      We use various evaluations such as:
                 •   To be respectful to self and others                            psychological history, psychiatric
                 •   To develop a relationship with God                             evaluation, physical examination,
                 •   To increase attention to conscience                            standard clinical interview, previous
                 •   To increase taking responsibility for own action               psychological evaluations, group
                 •   To improve how she values herself, including                   home/residential reports,
                     protection from assault or exploitation                        monitoring of medication, previous
                 •   To increase motivation for normal, wholesome                   individual therapy, discussion with
                     adolescent activities such as school, family, work,            previous therapists, school reports,
                     peer relationships and extracurricular activities              parent consultation, consultation
                                                                                    with relevant physicians, nutritional
                                                                                    assessment, day-to-day observation
                                                                                    of student, substance abuse history.
                                                                                    These combine to form the basis of
                             Individual Care Plans                                  the individual care plan.
      An individual care plan is developed for each young woman in the
      first week. This plan addresses the unique needs of the student and
      her family. The care plan is written by a licensed professional
      assigned to work with the student. Care plans are reviewed and
      approved by the treatment team. The plan is used to help her
      identify and solve problems and is reviewed by staff as needed.


                                                                                     Medications
                                                             Our philosophy is to manage symptoms and behaviors naturally
                                                             without medications. We prefer to use the minimal amount of
                                                             medication possible if necessary to manage symptoms. If your
                                                             daughter is admitted on medications we will evaluate to
                                                             decrease medications and hopefully discontinue them prior to
                                                             discharge if in the Holy Cowgirl Program.



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Program Philosophies, cont.

                                                     MIND
         “Do not be conformed to this world but be transformed by the renewal of your mind, that you
            may prove what is the will of God, what is good and acceptable and perfect” (Rom 12:2)




 There is a healing process that takes place for troubled girls when you combine wilderness therapy, animal therapy,
 emotional growth and experiential therapy in the beauty of nature. Young women will gain strengths, develop the
 importance of trust in relationships and build self esteem from the accomplishments that they personally will achieve.

 The wilderness environment eliminates the negative distractions and pressures that previously influenced her. In
 addition, behavior, attentiveness, teamwork and willingness to work have a correlation to life's basic needs such as: food,
 shelter, and comfort.

 Through animal therapy young women begin to find the loving, gentle person they used to be. Taking care of and meeting
 the basic needs of animals, encourages her to be less selfish, and respectful to relationships. This process will increase
 motivation, self-discipline, self-reliance, personal accountability, and self-sacrifice. These are virtues that are
 emphasized throughout the program. These lessons are taught in a variety of ways by coexisting with a group of peers,
 instructors, animals and Mother Nature.

 The instructors/therapists are able to reach students more effectively while living, working and dealing with life's
 obstacles in the wilderness. They become more "human-like" to the young women. This is a key factor in helping girls.
 They see the therapist as approachable, empathetic, and honest. She will directly observe the treatment team as living,
 eating and communicating in the same environment as she is. This facilitates a connection, which enhances genuineness
 between the young women and the therapist. By providing therapy in the wilderness this also permits the treatment team
 to step back from their traditional roles as authority figures, allowing natural consequences to provide reinforcement and
 punishment of appropriate or inappropriate behaviors.



                                                     BODY
         “Do you not know that your body is a temple of the Holy Spirit? Within you, which you have
        from God? You are not your own, you were bought with a price. So glorify God in your body.”
                                               (1 Cor 6:19-20)


 Young women are preoccupied with their appearances because of the American culture. Society is focusing
 on “lookism”. Everything from toothpaste to a house is advertised with some kind of sex appeal. Your
 daughter is bombarded with the pressure of looking “in”. Because of this preoccupation with “fitting-in”
 most young women are depriving their bodies of the nutrients it needs. They have poor eating habits or
 addictions that prevent their bodies from being healthy. We help your daughter to value herself and to
 find the beauty that lies within.

 We will provide your daughter with pharmaceutical grade nutritional supplements to help cleanse and rebuild her cells,
 and a high protein, complex carbohydrate diet that will aid in the healing process. This nutritional support will decrease
 mood swings, help curb addictions, and provide her with long term benefits for her arrival home.




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Due to the fast paced, high processed, nutrient depleted American diets, we are seeing more and more physical and
emotional problems in adolescents. A diet that is made up of high processed foods, refined sugars, aspartame and low in
protein is a recipe for disaster. This eventually will have devastating effects on one’s emotions.

Simple sugars breakdown quickly in the blood stream causing a cascade of hormonal responses. The yo-yo effect of
frequent ups and downs in one’s blood sugar causes hormonal responses that affect the brain. These ups and downs then
will create food cravings that are very difficult to overcome. These cravings are so powerful, they are stronger than any
drugs or alcohol.

That's why at Trinity Teen Solutions we will help her get off of the roller coaster ride. We accomplish this by:
1. High protein diet to supply her with the important amino acids necessary for neurotransmission or chemical reactions
in the brain.
2. Complex carbohydrates to stabilize her blood sugar.
3. Pharmaceutical grade nutritional supplements-vitamins, minerals, amino acids and essential fatty acids. Providing the
important mood stabilizing, nervous system nutrients: Magnesium, Calcium, B Complex, Essential Fatty acids and much
more.




                                                       SOUL
                     “I have come that they may have life, and have it abundantly.” (Jn 10:10)


Struggling teens are constantly battling to “belong to something.” Our culture has become one of gangs, cliques, clubs,
and cults. The cost to join is changing your daughter’s values and moral beliefs. Girls desperately need something or
someone to believe in, and someone to believe in them. We will gently guide her into a relationship with God and help her
open her heart to His kindness in the serenity of His creation. As her relationship with God grows and develops, this
need for belonging will be satisfied in seeing God as her Father and others as her brothers and sisters in Christ. Thus,
she now belongs to the greater family of God. Alcoholics Anonymous and Narcotics Anonymous have demonstrated and
proven that this is the only approach for long term success in overcoming behavioral issues.

Through Trinity Teen Solution’s Christian-based philosophy and our “Program of Life”, we are able to restore in her the
awareness of right and wrong actions and improve her ability to listen to her conscience throughout the day. We have
found that softening their hearts and minds through daily prayer and Christian counseling, role-modeling a living faith
and prayerfully reflecting on Scripture, teaches young women that they are helpless to overcome the negative influences
in their lives without God. The serenity and beauty of God’s creation in the wilderness encourages the softening process
in the young women and reinforces this understanding that God is the Master of Life.

The most important lesson that we can impart in the girls is an appreciation for the Truth found in Christianity. Daily
readings from the Bible and discussions of how they can utilize the wisdom exemplified in these readings in their own
lives, are aimed at giving her a much needed source of direction in life and instilling a personal relationship with Christ.
This gives the young women the strength to overcome the negative and destructive patterns that lead them to Trinity
Teen Solutions.




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Treatment Approaches




By using a wilderness ranch setting, animal assisted therapy and an individual care plan tailored to the needs
of each person we challenge young women to create healthier lives and make appropriate choices, which honor
God, self and others. The minimum length of stay is 45 days, the average girl is at Trinity 12 - 18 months.


                                  Modalities and Activities
                              We use the following treatment modalities and activities:

1. Wilderness Therapy/Outdoor Behavioral Healthcare: By changing the setting of young women, we challenge
        their comfort level, promote a sense of God’s presence and peace, and invent new ways to handle their personal
        needs and problems.
2. Reality Therapy: We use confrontation, personal choices and natural consequences as challenges for growth.
3. Family Systems: We examine the individual in her context, including family and peer relationships, relationships to
        authority, relationships with self and relationship to God. We use intensive family therapy (usually 4 hours long),
        weekly updates and scheduled telephone conferences.
4. Experiential Therapy: We use the ranch and wilderness contexts using nature and animal behaviors providing
        opportunities to rethink behaviors, solutions and attitudes.
5. Strategic Therapy: We use therapeutic directives to reduce uncontrollable or destructive behaviors. These
        directives are specifically tailored to the individual, her family and peers.
6. Animal Assisted Therapy: We use horses, cows, pigs, cats, dogs etc. to help young women examine their own
        behaviors, and needs, and to take responsibility for their actions and choices in relationships.
7. Group Therapy: We use group therapy in the wilderness ranch setting to help young women invent new solutions to
        old problems, see personal strength, identify needs and encourage progress. Group therapy takes place at least
        once per day and as needed by group members.
8. Individual Therapy: We use individual therapy and develop individual care plans to identify problems, invent
        solutions, evaluate progress, and prepare to re-enter communities.
9. Christ-Centered Counseling: We use the life of Christ and the Bible to instill personal conscience, and a sense of
        right action in communion with God, self and others.
10. Rational Emotive Behavior Therapy: We use direct examination of thought, feelings and action, and resulting
        problems from poor choices to teach her how to monitor and control her behavior.
11. Eye Movement Desensitization Reprocessing (EMDR): Eye Movement Desensitization and Reprocessing (EMDR)
        integrates elements of many effective psychotherapies in structured protocols that are designed to maximize treatment
        effects. These include psychodynamic, cognitive behavioral, interpersonal, experiential, and body-centered therapies. EMDR is
        an information processing therapy and uses an eight phase approach.
12. Personality Assessment: We use the Myers-Brigg to assess personality type, how a young woman sees her world,
        moves in it and solves problems. We also outline her strengths and limitations.
13. Nutritional Therapy: We use a complex carbohydrate/high protein diet, and pharmaceutical grade supplements
        to cleanse and improve physical and emotional health.
14. Crisis Intervention: We deal with crises as these arise on the ranch. We model techniques for resolution with the
        young women.
15. Art Therapy: We use art therapy to identify body image problems, future goals, expressing problems and group
        sharing to enhance personal insight.
16. Exercise: Reasonable amounts of physical activity to promote health, induce expression of emotions and solve
        underlying problems, such as walking, jogging, and calisthenics.
17. Use of daily routine: We use the daily routines to enhance the care of self, encourage independent problem
        solving, increase organizational skills, and improve motivation.

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18. Relationship therapy: We use dynamics of relationships to encourage participation in emotional and spiritual
        growth. Our central philosophy is “the family teaches right action through example, teaching and role models.”
        The family is the safe place where adolescent girls hear and understand values they need in order to thrive. As a
        staff, we provide such a family setting; where the girls know they are loved. They reciprocate those feelings.
        We lead, guide, teach by example.
19. Bibliotherapy: We provide the young women and their parents with relevant books and tapes to create self-
        awareness and to learn from the problem- solving skills of others. We use, Reviving Ophelia, The Bible, Seven
        Habits of Highly Effective Teens, Parent in Control, Back in Control, Hinds feet on High Places, Rachel’s Tears,
        Screwtape Letters, Over-Indulged Children, just to name a few.
20. Spiritual Activities: We use prayer, daily Mass, Scripture reading, group discussion, role-play and modeling to
        enhance the young woman’s relationship with her Creator.
21. Journaling: Journals are used to express feelings and reactions to events, and to map progress.
22. Aftercare/Referral: The family helps plan aftercare responsibilities. Roles are clarified; an agreement on rules
        and responsibilities, supervision, and privileges is reached.
23. Cognitive Restructuring: We have the student examine the way she thinks about her self and her issues, and to
        identify her emotions. When you change the way the person thinks, you will change the way she feels, and change
        the way she responds.
24. Confrontive Therapy: We confront negative behaviors by stating the facts about her negative behaviors.
25. Insight therapy: We get her to understand what is going on with her and facilitate an understanding of the cause
        of her behaviors.
26. Behavior Modification: We use behavioral contracts that target problems behaviors and attitudes in a 6 level
        system. Levels of all girls are reviewed weekly in staff meeting and in Holy Cowgirl. As levels increase so do
        responsibilities and privileges.
27. Solution Oriented Therapy: We identify her and your family strengths. We find out what has worked in the
        past and find away to use it today.
28. Supportive Maintenance: We use the activities of the daily schedule as opportunities to promote growth in
        targeted behaviors. Ranch life and daily schedule present new challenges and chances to choose different
        behaviors.
29. Symptom Focused Education: We provide the most current information on symptoms, disorders and treatment.
        Specific strategies are offered to each family.
30. Ordeal Therapy: We frequently will make something an ordeal to impact behavior. When a student goes through
        an ordeal it will impact behavior and change the student.
31. Psychiatric Consultation: We incorporate psychiatric consultation into behavioral objectives, therapeutic
        directives, spiritual tasks, and homework assignments for each girl and family. This is a bio-psychosocial
        approach that reaches a girl’s mind, body and soul.
32. Career Counseling: We address career choices when age appropriate. We use career tests such as the Self
        Directed Search, and the Myers-Briggs, in addition to individual therapy and group therapy.
33. Personality Inventories/Assessments: We do the following assessments:
            1.   Adolescent Psychological Inventory (APS): To identify psychotherapy in adolescent.
            2.   Kiersey Temperment: To identify personality type of each girl and use her unique problem solving style
                 to teach her.
            3.   Substance Abuse Inventory (SASSI): To identify frequency of substance abuse and related stressors.
            4.   Youth Outcome Questionnaire (YOQ): To identify problem attitudes and behaviors from parental and
                 daughter’s point of view.
            5.   Wide Range Achievement Test 4 (WRAT): Measure the development of reading, spelling, and
                 arithmetic skills.
            6.   Wide Range Intelligence Test (WRIT): Measures verbal, visual and general IQ.
            7.   Parenting Alliance Measure (PAM): Measures the strength of the child-rearing alliance between
                 parents.
            8.   Marital Satisfaction Inventory (MSI): Assess conflict within a relationship




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                                            Family Systems Theory
One of our treatment philosophy’s that is the backbone to Trinity is that we utilize a Family Systems approach to
treating the client in treatment. We believe that by focusing treatment only on the client or identified patient and not
focusing treatment on the entire family, that the clients treatment objectives/goals are almost impossible to obtain,
especially when dealing with adolescents. We have found that if all parent(s) that have the duty of supervising and
parenting the child do not partake in the clients treatment that they will undermined their daughter’s therapy and
treatment goals. Here is some information so that you are fully aware of what a Family Systems approach entails.

Definition

Family therapy is based on family systems theory, which understands the family to be a living organism that is more than
the sum of its individual members. Family therapy uses "systems" theory to evaluate family members in terms of their
position or role within the system as a whole. Problems are treated by changing the way the system works rather than
trying to "fix" a specific member.

Purpose

Family therapy is often recommended in the following situations:

    1.    Treatment of a family member with schizophrenia or multiple personality disorder (MPD). Family therapy helps
          other family members understand their relative's disorder and adjust to the psychological changes that may be
          occurring in the relative.
    2.    Families with problems across generational boundaries. These would include problems caused by parents sharing
          housing with grandparents, or children being reared by grandparents.
    3.    Families that deviate from social norms (common-law relationships, gay couples rearing children, etc.). These
          families may not have internal problems but may be troubled by outsiders' judgmental attitudes.
    4.    Families with members from a mixture of racial, cultural, or religious backgrounds.
    5.    Families who are scapegoating a member or undermining the treatment of a member in individual therapy.
    6.    Families where the identified patient's problems seem inextricably tied to problems with other family members.
    7.    Blended families with adjustment difficulties.

Descriptions

The identified patient

The identified patient (IP) is the family member with the symptom that has brought the family into treatment. The
concept of the IP is used by family therapists to keep the family from scapegoating the IP or using him or her as a way
of avoiding problems in the rest of the system.

Homeostasis (balance)

The concept of homeostasis means that the family system seeks to maintain its customary organization and functioning
over time. It tends to resist change. The family therapist can use the concept of homeostasis to explain why a certain
family symptom has surfaced at a given time, why a specific member has become the IP, and what is likely to happen
when the family begins to change.


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The extended family field

The extended family field refers to the nuclear family, plus the network of grandparents and other members of the
extended family. This concept is used to explain the intergenerational transmission of attitudes, problems, behaviors,
and other issues.

Differentiation

Differentiation refers to the ability of each family member to maintain his or her own sense of self, while remaining
emotionally connected to the family. One mark of a healthy family is its capacity to allow members to differentiate, while
family members still feel that they are "members in good standing" of the family.

Triangular relationships

Family systems theory maintains that emotional relationships in families are usually triangular. Whenever any two persons
in the family system have problems with each other, they will "triangle in" a third member as a way of stabilizing their
own relationship. The triangles in a family system usually interlock in a way that maintains family homeostasis. Common
family triangles include a child and its parents; two children and one parent; a parent, a child, and a grandparent; three
siblings; or, husband, wife, and an in-law.

Risks

The chief risk in family therapy is the possible unsettling of rigid personality defenses in individuals, or couple
relationships that had been fragile before the beginning of therapy. Intensive family therapy may also be difficult for
psychotic family members.

Normal results

Normal results vary, but in good circumstances, they include greater insight, increased differentiation of individual
family members, improved communication within the family, loosening of previously automatic behavior patterns, and
resolution of the problem that led the family to seek treatment.




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Healthy Body Image                                    Respect
Dealing with authority                                Obedience
Respecting parents                                    Humility
Dealing with pressure                                 Honesty
Building self-worth                                   Self-Discipline
Generosity                                            Selflessness
Pride                                                 Compassion
Identifying weaknesses and dealing                    Mercy
   with them                                          Marriage
Proper use of the gifts God gave us                   Rules for Dating
What are values, morals and virtues                   Purity
Lies hurt                                             Chastity
Tips to prevent relapse                               Who is God?
Dignity of Women                                      How to talk to God?
Traits of a good boyfriend/husband                    Growth in Silence
How to pick friends                                   Living a simple life
How to handle the pressures out there                 Influence of Media on our culture and
How to manage Anger and pain                              on us
Healthy outlets for our emotions                      How to handle temptation
What was your identity before?                        Building trust in relationships
What is your new identity?                            How to have good clean fun
What signals do the way we dress and                  Controlling emotions so that they don’t
   act send?                                              control you
What would I like said at my Eulogy?                  Controlling Addictions
Stop-Think-Pray                                       Changing your perspective
What is true freedom?                                 Healthy Body Image
Breaking violent tendencies                           Dealing with authority
No more victim role                                   Respecting parents
Looking at 5 positive things in every                 Dealing with pressure
   situation                                          Building self-worth
                                                      Generosity
                                                      Pride




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           Mind

                                       Academic Program
Academic Program
The academic program of Trinity Teen Solutions, Inc. is designed to promote self-discovery, constructive
interaction with others and a deeper understanding of nature through experiential, adventure, and
environmental education, as well as course work for high school credit.

Our educational philosophy emphasizes the use of experiential education. We provide participants with
outdoor learning experiences that are reflected upon, processed, and analyzed, emotionally and intellectually.

We believe that challenges are inherent to the experiential learning process. Using the natural world as a
classroom affords us many opportunities to expand the participant’s life experiences and encourages
personal growth. Support, trust and respect are valued and promoted throughout all phases of instruction,
management, and administration.

We use an independent study course that is accredited by the Northwest Association of Schools, Colleges,
Universities (NASCU), and the Commission on International and Trans-Regional Accreditation (CITA). This
accreditation source is reciprocal with other accreditation agencies, meaning that earned credits are
generally transferable. However it is always best to make sure that her school will honor the credits.

When enrolling your daughter you will need to provide Trinity Teen Solutions with her high school’s ACT
Code, high school name and address. An ACT code is only required for high school students. You can get this
number from her high school’s counseling office. By supplying an ACT code, you give permission to inform her
high school of her activity and grades in the courses.

As part of our unique therapeutic approach your daughter will be earning credits in school for the personal
goals and changes that she is making in herself. For example, the first three classes that she will be taking
are entitled, “Character Education- Exploring Values.”




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          Body


                     Nutrition: A Valuable Component

During adolescence, girls are growing by leaps and bounds. Within 18 months her internal organs will double
even triple in size. She will grow on average 2 to 4 inches, seriously stretching her muscles and tendons. Her
brain and nervous system undergo enormous expansion and development. She will develop twice as much
fatty tissue in her breasts, hips, thighs and stomach. Her metabolism is frequently out of balance, causing
emotional highs and lows, and periods of hyperactivity and exhaustive rest. Her physical and emotional well
being are very susceptible to poor nutrition during this stage of development.

Girls need to consume at least 2500 calories per day from good nutritional sources just to keep up with
these demands. However teenagers’ busy lifestyles almost inevitably lead to irregular eating habits-missing
meals and binging on junk food- which may cause serious dietary deficiencies. The fast food that teenagers
love to eat tends to be high in calories, fat and sodium, and low in fiber, vitamins, minerals and antioxidants.
Also, because of society’s pressure of “look-ism” and sexism, adolescent girls receive more peer pressure
than any other age group. Most girls want to weigh less and begin low calorie dieting, skipping meals,
restricting foods, fasting, excessive exercise, and using diet pills and laxatives.

Nutrition plays an important role in physical and emotional well-being. Moods and behavior are quickly
affected by refined simple sugars, caffeine and nutritional deficiencies. During the complexities of raising a
teenager in today’s society nutrition ends up a low priority. However during these growth spurts she is
developing internal organs, tissues, bone, brain, and skin off of nutritionally devoid foods. It is imperative to
supply the growing teen with the proper building blocks for these organs. She needs to consume a healthy
diet that is high in complex carbohydrates, protein, monounsaturated and polyunsaturated fats, and
therapeutic multivitamins, minerals and potent antioxidants.

Due to high processed foods which destroy the nutritional properties, improper food storage and handling
she cannot get the nutrients she needs by eating a healthy diet. The Recommended Daily Allowance of
vitamins and minerals is not enough to provide the necessary nutrition to a rapidly growing body. The RDA
was formulated to prevent diseases caused by nutritional deficiencies not to promote optimal heath. Trinity
recommends nutritional supplements that are developed off of credible science in proper ratios and
quantities to develop and promote optimal health for the rapidly growing teenager in a fast-paced toxic
world.




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                    Sugar’s Impact on Behavior
Sugar’s Impact on Behavior

Her body and brain are built of protein, water, fat, minerals and vitamins. Like auto parts that must be made from solid
materials (metal and rubber), body parts, muscles, hormones, nerves, and bones can be made only from water and solid
foods like protein, vitamins, minerals, and fat. Without them, her body doesn’t have the building blocks to replenish
itself and replace worn out cells. Carbohydrates have a very different function. They are the fuel that her body uses.
Yes, they’re important, but just as you cannot build an engine or a tire out of gasoline, she cannot make muscle or
hormones or bones out of carbs. Imagine a car that did not get its oil replaced or its tires repaired. How far could it go
on gasoline alone?

Her body does need high-quality carbohydrate “gas”, but the amount depends on how much “driving” her body is doing.
Athletes and fast metabolizers need more carbohydrates. Less-active people need fewer. And not just any
carbohydrate will do the job. She needs high-quality ones, like vegetables, beans, and brown rice; not low-quality
carbohydrates, highly sweetened with sugar, or starchy ones like white bread or bagels and pasta, which are converted
into sugars in seconds in her mouth. If she is a carbohydrate junkie she is frequently running low on glucose, the blood
sugar fuel made from carbs that keeps her brain and body going.

But if glucose is made from carbohydrates and she is regularly eating lots of sweet and starchy carbs, how can she be
running so low on blood sugar? Paradoxically, it’s because she is eating so many high-carbohydrate foods! Her body can’t
tolerate the amount of carbohydrates in highly processed foods like candy, cookies, or even bagels, especially if she eats
her carbohydrates without lots of balancing protein, fiber and fat. If she had lox and cream cheese on her bagel, she’d
be all right. If she ate salmon steak every time she had a candy bar, she’d probably be okay, too! But she doesn’t, of
course. And some people are so sensitive to sweets that no matter what they eat with them (even if they eat a full
meal), they’ll get a headache and feel irritable after the initial pleasure injection wears off.

So what happens to all sweets and starches she eats? They turn into blood sugar (glucose) in seconds while still in her
mouth, shocking and alarming her whole system. “Get rid of it, fast!” shrieks her body. Out rushes insulin, made by her
pancreas, for just such occasions, from whatever protein she is eating. Insulin knocks every bit of that high glucose out
of her bloodstream and quickly stores it as fat, where it gathers in her body, crowding her muscles, and clogging her
arteries.

Blood sugar or glucose is the brain’s only fuel source. When she creates these highs and lows in her blood sugar by eating
refined sugars she will have uncontrollable mood swings and cravings. There have been studies that show that
adolescents who are “junk food junkies” are at risk for becoming alcoholics. Alcohol is a sugar that reaches the brain
quite rapidly and provides energy and euphoria. After a night of drinking, your blood sugar drops creating hypoglycemia
or low blood sugar, then the craving for sugars in alcohol, candy and pop to elevate the blood sugar begins. This is the
initial stage of alcoholism, the physiological and emotional addiction to refined sugars. There are very few alcoholics that
became alcoholics at 40. They started drinking in their teens and twenties and began the blood sugar yo-yo. Trinity
provides girls with the necessary macronutrients (protein, fats, carbohydrates), and optimal levels of micronutrients
(vitamins and minerals) to enhance emotional and physical health. We will stop the cravings and level out her moods
through proper nutrition; we highly recommend that she continues this on discharge.




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                              A Girl’s Typical Diet
The family meal time is an important time in developing values and relationships. We strive to make meal
times therapeutic, comfortable, relaxing and something they all look forward to. The girls that come to
Trinity are compulsive, selfish, do not think before they act, are disorganized, do not follow directions, and
do not plan for the future. We have found that having the girls responsible for organizing, preparing and
cooking meals provides much needed experiential therapy. If they do not plan for the ingredients and the
meal preparation, think before they act, take time to do something, get organized, and follow directions and
recipes, the meal will flop. The natural consequence is a poor meal that all have to eat.

The girls take turns cooking for the camp. Each girl is expected to plan and prepare meals, using proper
nutrition and proper ratios. There are no prepared boxed meals allowed. It is amazing what the girls come
up with to cook and how much they get into cooking on the wood burning camp stove. One girl totally amazed
us; at first her meals were awful. She learned that she needed to follow instructions, ask for help, read the
recipes, and think of consequences of her actions. As she grew in these areas she became an excellent cook
and got excited about trying new and exciting recipes. One night she decided to make homemade pizza on
the wood-burning stove (no oven). She made it with whole wheat flour, lean ground elk burger, home made
pizza sauce, and cheese. She cooked it in a Dutch-oven on top of the camp stove, regulating the heat with
how hot the wood was burning. She served a fresh fruit salad for an appetizer and a lettuce salad with the
meal. We were amazed at how complicated this meal was and how well it turned out.

Parents always talk about how their daughters come home and are a great help in the kitchen. Cooking and
talking during meal preparation, then sitting down and eating the creation with a family begins the process of
building trust and communication.

The proper nutrition that the girls need to adhere to in meal planning and preparation is one that is high in
lean protein, complex carbohydrates from fresh fruit (eaten before the meal for proper digestion), fresh
vegetables (preferably raw or steamed), whole grains from brown rice, and whole wheat tortillas, bread,
cereals or pasta. Here is a sample menu:

   •   Fresh water in plenty supply.
   •   Breakfast: Slow-cooked old-fashioned oatmeal with soy protein and fresh fruit or eggs, whole wheat
       toast and yogurt.
   •   Lunch: Tuna fish sandwich made with 100% whole wheat bread, fresh fruit, fresh vegetables, raw
       trail mix or left-overs from dinner.
   •   Snacks: Nutritional bars that contain a healthful ratio of carbohydrate, protein and fat, that are
       free from genetically modified soy protein or fresh fruit, cheese or vegetables.
   •   Dinner: Fruit as an appetizer, Cajun black beans, rice with chicken. Made from slow cooked whole
       beans and long grain brown rice, fresh vegetables and boneless, skinless chicken breasts or Salisbury
       steak from lean ground elk burger or home grown beef with steamed broccoli and long grain brown
       rice.
   •   Herbal Teas: The girls really enjoy drinking herbal teas while doing their journaling and
       assignments.




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                  Nutritional Supplement Program
OUR GOAL IS EMOTIONAL WELL-BEING THROUGH PHARMACEUTICAL-GRADE NUTRITIONAL SUPPLEMENTS

Angie Woodward, the Director of Trinity Teen Solutions, has been a nurse for 15 years and has seen first-hand the
diseases that plague our nation in relation to nutritional deficiencies, poor American diets and lack of exercise. Look at
the 3 leading killers: Heart disease, Cancer and diabetes; they are all related to exercise and nutrition. The medical
field now understands the importance of nutritional supplementation. It’s not the old adage; “All you have to do is eat
right” anymore

It is overwhelming and complicated when you start searching for what to take, how much to take, what are the best
products for their money, are they manufactured properly to deliver adequate nutrition, what is the latest research
(based off of sound science not just a fad). Nutrition must be complete and balanced, that is why Trinity uses only top
quality pharmaceutical grade nutritional supplements that are in the right ratios. We use supplements manufactured by
USANA Health Sciences.

USANA Health Sciences are nutritionals you can trust. They will provide your family with optimal level of balanced
nutrition, in proper ratios, and in high enough quantities, to not just curb disease, but to promote optimal emotional and
physical well-being. We have done extensive research to find nutritionals of this quality that we would recommend and
use in our program. For more information you can find USANA in the PDR (Physician Desk Reference).

Poor manufacturing can destroy great science. For this reason, USANA Health Sciences is one of the few companies in
its industry to manufacture its own products. To ensure that the formulas they develop in their laboratories remain at
the same high quality for their customers, USANA voluntarily meets Good Manufacturing Practices (GMP) for
pharmaceutical-grade products much higher than what law requires, and eclipsing the standards followed by most
nutritional product manufacturers.

To adhere to these exacting standards, USANA tests the raw ingredients, tests the product during manufacturing, and
tests everything once again before it goes out the door. USANA’s quality assurance team keeps track of every
excruciating detail, from the elaborate testing and evaluation of raw materials, to what happens to the products during
shipping and storage.

Your daughter will be placed on USANA nutritionals during her stay at Trinity. Here is a list of products that she will be
taking. We recommend that she continues when she is discharged:

    1)   Body Rox- A multi-vitamin, multi-mineral, potent antioxidant therapy.
              •   Delivers a comprehensive, high-potency formula with the full spectrum of vitamins, minerals, antioxidants, and
                  cofactors needed for long-term optimal health and to support a robust and vigorous metabolism..
              •   Contains 15 antioxidant ingredients to give comprehensive, “full-body protection” from oxidative stress.
              •   Is laboratory tested for guaranteed quality. Meets U.S.P. specifications for potency, uniformity and disintegration.
    2)   BiOmega 3- Fish oil capsules provides essential omega-3 fatty acids.
              •   Helps promote optimal cardiovascular health, proper brain and neural development and decrease symptoms of
                  ADD/ADHD,
    3)   Proflavanol- Grape seed extract; antioxidant that crosses the blood brain barrier.
    4)   Active Calcium- Calcium and Magnesium supplement.
    5)   B-Complex- High potency




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Physical Activity




The exercise program is designed to increase self esteem, self-motivation, self-discipline, obedience to
authority and energy. When therapeutic approaches involve the entire person (mind, body and soul), they are
much more effective. When the girls are doing a lot of internal, emotional and spiritual work, they need to
have a physical outlet to decrease anger and aggressive behaviors. Thus, with so much going in, something
needs to come out. The girls walk 4-6 miles per day as they are training and exercising animals; they also
chop wood, build fence, ride horses and other various forms of good old-fashioned ranch work. In addition,
the girls have their physical challenges which may involve jumping rope, running, sit-ups, push-ups, wall-sits,
etc. For more information on the physical challenges, please see the “Changes and challenges” section of the
Holy Cowgirl Manual.

Teenagers always learn more when they use all their senses. For example: walking a dog and pulling back on
the dog’s leash to keep the dog in control, touching a dog’s fur, talking to the dog and giving commands,
watching and listening for the dog’s response, and showing affection to a dog who is eager to please her.
Girls bond with the animals and begin to relate the animals’ behavior to their own; this is the process that
starts to soften their hearts. They write about the animals in journals and talk about them in group therapy.
For example: seeing the similarities of animals having a strong will and wanting to do whatever they want, but
because of respect, love and obedience they do what authority asks them to do.

The girls’ physical activity allows them to grow in self-motivation, self-discipline, and selflessness in order to
properly care for the animals. Since it all has purpose and is meaningful work, the girls push themselves on
their own, so we do not have to become drill sergeants forcing them to exercise like a boot camp.

There are tremendous emotional and physical benefits from exercising outdoors. Exercise and sunshine
increases serotonin levels in the brain. Serotonin is responsible for stabilizing moods, creating a sense of
well-being and preventing depression.




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Spiritual Program



       Soul



         Trinity Teen Solutions, Inc. is a Christian-based, wilderness, animal therapy program. Thus, the
spiritual program at Trinity Teen Solutions is central to the entire program and reflects the same journey
the girls embark upon emotionally, intellectually, and psychologically. Therefore, the girls are encouraged to
identify their spiritual “problems” and accept responsibility for their actions. Thus, Trinity emphasizes the
need for continual conversion of heart and a growing relationship with Jesus Christ.
         As it was just mentioned above, the primary focus of Trinity’s spiritual program is conversion to
Jesus Christ. There is a strong emphasis upon the impact and consequences of sin in our lives and the lives
of others around us, the need for conversion and a life-time commitment to Jesus Christ—and through that
commitment, there must be a greater imitation of Jesus’ life in our own lives . . . thus, the ongoing growth in
virtue in our lives. In order to work on these principles everyday, the girls will examine their consciences
frequently throughout each day and identify virtues that they will work on practicing each week. This
process of eliminating sin and growing in virtue makes up the heart of the Program of Life (see Holy Cowgirl
Manual for greater detail).
         The Christian beliefs of TTS are interwoven into every aspect of the girls’ lives—we often use
physical realities and ranch experiences as analogies of what is true of the spiritual life in general or the
girl’s particular relationship with God. The girls are challenged to consider their past behaviors in light of
how they have offended God, to assess the present and past relationships according to God’s standard of
love and forgiveness, and to respect themselves according to the dignity in which God has created them.
Group discussions often arise during evening meals or liturgy in which the girls must consider the values they
formerly held versus the values in which God would like them to grow. They are often asked to analyze the
messages portrayed in the media in light of the Gospel—are these messages supported by God or not?
Which of their past behaviors and attitudes do not reflect the mind of a true follower of Christ? Thus, the
girls learn to invite God into their hearts and minds throughout the day—allowing Him to sanctify their work,
relationships and themselves! In addition to the physical realities that the girls encounter on the ranch, the
work and example of the staff also provide a living witness of the Christian life.
         The spiritual dimension of Trinity Teen Solutions also takes on very concrete means as well. Each
child will be required to attend church at least every Sunday with the staff, but will most likely be more
often. Staff members also lead a time of prayer and reflection on the Psalms and other Scriptural readings
for the girls every evening—this is called the Liturgy of the Hours. Through this reflection on the psalms
and other passages from Scripture, the girls encounter the Word of God daily and its impact on their lives.
Prayer before meals (which includes an examination of conscience at lunch and dinner) is another regular
practice in our program. All of the girls will participate in this through quiet attention to what is being said
by whoever is leading the prayer. The child may have the option of declining to lead the prayer if they are
chosen to do so. However, it is strongly encouraged that they learn to do this.
         Because we believe a personal relationship with Jesus Christ is essential in life for true success and
satisfaction, each girl in the program will be encouraged to develop such a relationship. They will not be
requested to choose one denomination or church over another, but the girls must attend church with the
ranch family. Nor will they be asked to reject their parents’ opinions and beliefs regarding religious
practices.



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Your Daughter’s Experience at TTS




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                          Your Daughter’s Journey
Your Daughter’s Journey


All struggling teenage girls have similar patterns of behavior. With these patterns in mind, Trinity is
designed to minimize the behaviors that are destroying your daughter’s life and at the same time, enhance
her unique personality and undiscovered gifts. We have found that "talk" therapy alone is ineffective.
Parents agree, they have talked till they are blue in the face, and have tried an array of counseling and
therapy techniques. To approach at-risk girls, we use a variety approaches that will ensure her compliance
with minimal resistance.

Your daughter will want to comply just to increase her comfort level and meet her needs. Living in rustic
cabins, working with and riding horses, performing ranch work and daily chores, and taking care of animals is
a foreign way of life for most girls. She will need to depend on the staff to learn; if she resists, then her
discomfort increases. This process immediately brings her closer to the staff and more receptive to learn
new templates of behavior. This process builds trust and a loving relationship within the "community" which
is made up of staff and clients.

Let me explain a typical girl’s journey at Trinity. Each girl needs to go through these stages in order to
internalize the changes that she needs to make. The length of time that each girl is in the different stages
varies according to her unique situation and background. The minimal length of stay is 45 days; however, the
girls that have only stayed for that short of a period of time have gone on to a long-term program upon
discharge. The average girl takes 12 - 18 months to move through these stages effectively.

First, she will be in shock and disbelief that her parents did something about her behavior. This shock is the
greatest consequence for her out-of-control behavior. You are sending a clear signal that this kind of
behavior is unacceptable and will not be tolerated.

When she first arrives at Trinity her emotions and behavior will vary from anger, loneliness, sadness,
remorse, manipulation, lying, and depression. During this time, she is the most vulnerable and will reach for
something to make her comfortable. It is amazing how even the hardest heart softens when they are
distraught. We will encourage her to turn to God during this time to ease this discomfort. This is an
important stage in preparing her to internalize the changes that she needs to make. She will want to make
changes in her behavior because of her relationship with God, not because she was told to.

The next step is anger. She will blame her parents, family, school, friends and everyone around her for her
actions. The length of time that a girl spends in anger varies from 1 week up to months, depending on the
history. Our mission is to get her to move from anger and blame to accountability. In order for her to begin
to change her behavior she needs to be accountable for it.

We use a variety of approaches to eradicate anger and blame. First, we will use her desire to be comfortable
in the “Changes and Challenges” Program (see Holy Cowgirl Manual). In order to sleep on a bed or have butter
for meals she will need to start looking inward at her behaviors and begin working on changing them. At first
she will manipulate and fake her way through this part. Over time her actions will speak louder than words.
Animal, equine therapy and Christian counseling all combine to soften her heart and regain her conscience.
Dealing with animals and riding horses encourages selflessness and compassion. This slowly opens her heart
and flows over into her relationships with God, self and others. We can measure internal change by assessing
her interactions with animals and the animals’ response.



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The next stage is remorse. This occurs when she feels sadness and remorse for her behavior. At this time,
she takes accountability for her actions and sees the impact she has had on her loved ones and self. When a
girl feels remorse and processes the magnitude of her behavior she hopefully will not want to repeat them.
This is when she is seeking to change and wants to learn the tools to change. We feel that this is an
important stage to turn the dial up on her conscience so that she is less apt to repeat these behaviors.

When a girl is going through this stage it is imperative to allow healthy outlets for remorse by crying, talking
with staff, writing letters, physical work and being with animals that she has bonded with. We also focus on
activities that she enjoys to build self-esteem and hope for the future.

After remorse the girl now moves into action. Developing new habits of behavior on the old destructive
behavioral templates takes time. This stage is lengthy and will give her the tools and values that she will
need for her discharge. Most girls during this stage have successes and failures. It is important for them
to fail so that they can learn how to pick themselves back up again. During this stage she will become over-
confident and think that she has nothing more to learn. Usually this is when she fails and repeats some of
the behaviors that got her here, like lying or manipulating. We think that this failure is important for her
development to really drive inward some of the basic values that she needs. For example: she would repeat
working on self-discipline, by controlling her emotions and using her intellect to make decisions, not just
doing what feels good.

The longer that we can work with a girl in this stage the better she will be able to handle the pressures of
society on discharge.




Please see the “Holy Cowgirl Manual” for a more thorough explanation of the
girls’ responsibilities and requirements.




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Parents: What’s your part?




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Parent Assignments




Once your daughter is admitted to Trinity, peace will be restored to your home and you can
begin to think straight. Now is the time to focus on you and your family to begin making
the changes necessary for when she comes home. It has been demonstrated time and time
again throughout the nation and in a variety of programs, that parents are the most
important part of the formula for lasting success!

The best time to make these changes in your parenting style is during the time of her stay
with us at Trinity. Through your letters, phone calls and visits and your own personal
growth you will impact her deeply. These techniques are utilized at Trinity and should
assist in an easier transition when the time comes for your daughter’s arrival home.

By this time you are already familiar with TTS’s FamilyIQ web site and the Family Soul-
utions level system. These tools are the best in the industry and are the backbone to
restoring your family. We approach healing your daughter, by healing the family. This
family systems approach heals the marriage, heals the wounded parent(s) and strengthens
parenting skills. This ensures your parenting success.




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Parental Involvement




                         The goal of Trinity Teen Solutions, Inc. is to develop, maintain
                   and/or strengthen the ties between the student and her family/caretakers.




In order to accomplish this goal of strengthening family ties, Trinity Teen Solutions will use the following
means:
    A. Parents will be provided with weekly written progress summaries and bi-weekly phone conferencing
       with their daughter’s therapist in which her behavior and progress can be discussed.

    B. The student and parent/guardian are able to communicate back and forth by phone and mail.

    C. When appropriate, Trinity Teen Solutions, Inc. will involve the family and/or caretakers in
       components of the program, to include family counseling and inclusion in the treatment planning.

    D. Each parent will receive there own TTS/Family IQ web site and a Testing Packet after their
       daughter is admitted. This web site and packet will provide instructions for the parents/guardians to
       assess your family’s strengths and weakness and utilize both to prepare for their daughter’s
       discharge.

    E. The student will participate in a family therapy session as often as needed per Plan of Treatment.
               Trinity Teen Solutions highly recommends that parents participate in family therapy with their daughters.
               We offer interim family therapy sessions at appropriate times for your daughter and as determined for
               her growth throughout her treatment. These sessions help to reunite and reintroduce families to their
               “new” daughter. We have found that families and their daughters are always nervous about how to reunite
               and start their “new lives.” Therefore, our family therapy sessions are designed to help families acquire
               the valuable tools and unity they need for their daughter’s arrival home. Families will be provided with
               parenting tips, tools to help keep their homes and daughters in control, steps to rebuild trust and gain
               forgiveness, and methods of learning how to appreciate each other again. The valuable time spent with
               your daughter will provide long term benefits by helping you discover the weaknesses and strengths that
               are unique to your family unit.

    F. The student may leave Trinity Teen Solutions, Inc. as approved by treatment team to participate in
       family activities.




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Changes and Challenges for Parents
                                                   What makes a person change?




            “’My son, do not regard lightly the discipline of the Lord, nor lose courage when you are
            punished by Him. For the Lord disciplines him whom He loves, and chastises every son
            [daughter] whom He receives.’ It is for discipline that you have to endure. … He disciplines
            us for our good, that we may share His holiness. For the moment all discipline seems
            painful rather than pleasant; later it yields the peaceful fruit of righteousness
            to those who have been trained by it. Therefore, lift your drooping hands and
            strengthen your weak knees, and make straight paths for your feet, so that what is lame
            may not be put out of joint but rather be healed. Strive for peace with all men, and for the
            holiness without which no one will see the Lord.” (Hebr 12: 5b-7a, 10b-14)




                             “When we are no longer able to change a situation,
                                 we are challenged to change ourselves.”
                                           —Victor Frankl, Man’s Search for Meaning


        At the heart of these two quotations is an understanding that people will not change the direction of their behavior,
attitudes, and ultimately, themselves, unless they do not have any other options. In fact, we won’t change until it is painful—
painful remaining in the state we are in or continuing in the direction we were headed! This sentiment is a key principle of
Trinity’s philosophy: People only change when they are uncomfortable! When a person hurts physically or emotionally, when
he/she truly feels remorse or sadness for what he/she has done, when he/she has to suffer the full impact of the
consequences from their decisions—only then does one change, because it has become too painful/uncomfortable to remain in
the same place.
        This principle is even more evident when it comes to addicts. It has been seen over and over again in therapeutic circles
(and even by the common observer) that most addicts don’t change until they hit “rock bottom.” Therefore, it is usually
required that the family and support system must allow them to get there. This process of “hitting rock bottom” is the only
means by which the addict finally “learns” that his/her lifestyle cannot continue any longer. Thus, some of life’s most valuable
“lessons” are only learned the “hard way”—through pain and discomfort.
        This principle of change is what drives much of our program—the level system, the timing of when privileges are given,
the consequences for misbehavior, etc. Thus, the “environment of discomfort” is gradually diminished as your daughter begins
to move away from her past behaviors and attitudes, and begins to move in a positive direction toward a more Christ-like life.
With this in mind, you play a big part in the “environment of discomfort” that surrounds your daughter. For example, the tone
of your letters, the things sent to her, etc.—these can all serve to strengthen or weaken this “environment of discomfort” for
your daughter. The more it is maintained, the more likely she is to change herself and in a more timely manner.
        This collaboration in maintaining discomfort for your daughter is often extremely difficult for parents. From the very
first day of your daughter’s life, you have had a deep desire for her happiness and have wanted to protect her from many of
life’s dangers and sufferings. While this is a very natural and good desire in a parental heart, sometimes, as limited human
beings, our understanding of our children’s ultimate good is also limited. Often we trade eternal happiness for temporary
happiness—we so desire their happiness and comfort now, that we prevent our children from learning the necessary “hard
lessons of life” and feeling the consequences of their poor choices that will provide them with the tools they need to attain
eternal happiness and comfort!!



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       Clinical research is now more than ever supporting this principle of healthy parenting. It has been demonstrated that
adolescent growth is inhibited when a child does not have to deal with the consequences of their own actions and behaviors.
While it is normal and, to a degree, expected for a parent to protect a child, some parents literally “protect their child” into
profound psycho-social pathology. How do they do that? By mitigating and rescuing the child from experiencing the natural
consequences for maladaptive behavior—often, the very behavior for which the parent is seeking treatment for the child.
       Some parents find this so disturbing that they will fight for their comfortable, indulgent parenting style to the end.
They will attempt to use such rationalizations as: “God is Love. He wants us to be happy. Suffering is not from God. How could
God want us to sit back and watch our children suffer?” and “God loves us right where we are at. He wouldn’t purposefully
make us miserable. What kind of loving God is that?” While there may be some elements of truth in such rationalizations, God
does love us infinitely and right where we are at and He does want us to be happy—but God loves us so much He doesn’t want us
to stay where we are at and He wants our eternal happiness. As Max Lucado has written in his book, A Heart Like Jesus, “God
loves you just the way you are, but He refuses to leave you that way. He wants you to have a heart like Jesus.”
       Remember: this “environment of discomfort” is not a new principle! This is the very manner in which God Himself formed
Israel into His chosen People—He led them into the desert, stripped them of all their former luxuries and comforts, and as a
consequence of their disobedience and lack of trust in Him, He allowed them to wander aimlessly through the desert for 40
years, so that they might finally turn to Him and rely on Him as their strength. “And you shall remember all the way which the
Lord your God has led you these forty years in the wilderness, that he might humble you, testing you to know what was in your
heart, whether you would keep his commandments, or not. And he humbled you and let you hunger and fed you with manna,
which you did not know, nor did your fathers know; that he might make you know that man does not live by bread alone, but that
man lives by everything that proceeds out of the mouth of the Lord” (Dt 8:2-3). Thus, God had a more important lesson in
mind that He would even allow His people to endure suffering for a period of time that they would learn this lesson.
       Trinity Teen Solutions, therefore, seeks to imitate the manner in which God has dealt with His people throughout
history—by allowing them to feel the consequences of their actions. But we can only be successful if you, the parents, are
completely on board with this approach. Some parents feel that they don’t have “the stomach” to assist the treatment team to
bring about these significant changes. Some are afraid that if they completely align themselves on the side of the treatment
team they will have in a certain sense rejected their daughter, or she will at least perceive it that way and then completely
reject her parents as a result. Some parents feel that if their daughter is uncomfortable or experiences pain (the pain of true
change) or she perceives some injustice has been done, then they must at the very least sympathize with her pain and
discomfort. This type of thinking is fueled by the devastating misconception that “if I don’t sympathize, my child will hate me
and reject me forever.”
       Nothing could be further from the truth!! As we have already mentioned in the section “Your Daughter’s Journey,” she
may express some anger in the beginning and some feelings of resentment, but as you continue to reinforce the message that
this is simply a response to her choices and she has the power to choose differently, she will grow to understand her own
responsibility in this process and will respect you even more for your willingness to risk rejection for the sake of her ultimate
good. This being the case, when parents give in and placate their child by removing discomfort and struggle, they end up simply
feeding their own insecurities, removing their own uncomfortable feelings of guilt, and attempting to maintain a distorted sense
of intimacy and closeness. Thus, one must be willing to look at oneself seriously and ask the question, “Is this really for her
good or is it for my own comfort?”
       At this point you may be wondering, what actions would be considered “comforting” or taking away from my daughter’s
discomfort and the pressure that she needs to feel in order to embrace a real change of heart? Here are some ways through
which parents often make their daughters feel comfortable:
       1) Gifts, food, cosmetics, pictures, clothes, excessive beauty treatments, etc.—either sent through the mail or given on
            visits
       2) Letters that talk about the “weather” or what is going on at home, distracting her from her own work and
            consequences.
       3) Lots of mail from many different family members “cheering her on or cheering her up,” this only makes her think “I
            can do whatever I want and everyone is sweeping the real issues under the carpet.”
       4) Letters that are all about how wonderful she is, how loved she is and how you will always be there for her no matter
            what and you forgive her no matter what. She thinks, “so if that’s the case why am I here?”
       5) Taking blame or blaming a spouse for the daughter’s behavior.

    This is a fragile time. Your daughter needs to focus on her deep-seated issues and behaviors that forced you to take
action. Interrupting that process by band-aiding her hinders the process and at times stops it dead in its tracks! This is not to

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say that parents shouldn’t lovingly support their children—but do not “love” them so much that they are unable to see the truth
of the situation at hand. Your daughter should be able to echo the words of the psalmist:

            O Lord, do not rebuke me in your anger;
            Do not punish me, Lord, in your rage.
            Your arrows have sunk deep in me;
            Your hand has come down upon me.

            Through your anger all my body is sick;
            Through my sin, there is no health in my limbs.
            My guilt towers higher than my head;
            It is a weight too heavy to bear.

            My wounds are foul and festering,
            The result of my own folly.
            I am bowed and brought to my knees.
            I go mourning all the day long.

            For I am on the point of falling
            And my pain is always before me.
            I confess that I am guilty
            And my sin fills me with dismay.

            O Lord, do not forsake me!
            My God do not stay afar off!
            Make haste and come to my help,
            O Lord, my God, my savior!
                 (Psalm 38:1-8, 17-18, 21-22)

        Once she has felt the painful effects of her sinfulness and experiences genuine remorse, then she will be able to reach
out to God in authentic repentance and begin working on rebuilding her broken relationships both with herself and her family
members. At this point forgiveness is appropriate. If she feels she is forgiven too early in this process, she will never get to
the depths of the pain she has caused and not be as convicted to never want to go back there again!




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The Corridor of Success
Imagine your daughter standing in a corridor with both sides lined with doors. There is a door at the other end of the corridor.
That’s the door you want your child to go through. It is the door that leads to success, well-being and personal happiness.
Unfortunately, your child thinks that walking through the door is stupid, impractical, lame, not cool and utterly ridiculous.

Perhaps at some conscious or unconscious level, she may have a desire to walk through the door but fear of the unknown, effort
to get to the door, or any other underlying issues may make it impossible for her to walk through this door without some sort of
assistance.

The problem is that she is being distracted by all the other doors that are lining the corridor. To you the signs on the doors
read: “Partying, Drugs, Negative Friends, Hanging out, School failure, Depression, Psycho-neurological problems, Learning
difficulties, Manipulation, Excuses, “You don’t understand,” Loss of a Close Friend, Divorce, Low Self-Esteem, Adoption reaction,
etc., etc.

Your child, distracted or mitigated by these doors will opt to slip through one or more of them. If we let her do so, will she
ever get through the door at the end of the hall? Maybe, but when? This year, next year, when she is 20? The reason you
placed her with TTS is that you thought that the time is NOW to make the change.

The best way to make it happen NOW is to shut all the other doors so that the only door that can be opened is the one you want
her to walk through—the one at the end of the hall.

Initially, your child is putting up a stink. She will try to get through every door possible. She will bang on some doors and
attempt to kick in others. Some, she will attack with her bare hands, while in front of others she will whine and whimper. She
most assuredly will try to convince you that if you are not letting her out through one of those side doors, disaster will be
imminent. As she is slowly making it down the hallway toward the desired door, she will perhaps lie down and act discontented,
overcome and/or wronged. She will attempt to make you a partner in crime or convince you that what we think is possible is an
utter impossibility.

If you open one of those doors for her, because you feel bad for her or you think you want to help her, both you and TTS stand
defeated. At that point, both you and we need to run after her, get her back into the corridor, be sure that door is locked and
work on getting her down the hall toward the right door. All of that takes time and resources.

If you fall prey to opening one of those doors time and time again, your child will not go through the desired door in the
foreseeable future. Thus, the child is not internalizing any changes, and as a result, you likely will feel disappointed in either
the child, the facility or in the process. You are right back where you started from, with one exception—you have taught your
child another powerful lesson: “If I push the right buttons even longer than before, Mom, Dad or both will get me off the
hook.”

Shutting the door may simply sound something like this: “Debbie, we know this is tough. We know this is not easy. This is hard
work. Since we are not residents there, we obviously lack the full understanding of what you are going through. But you must
know that we are behind you all the way. We love you. We want the best for you. We will help you in anyway we can, but you
must understand that we will not return to old behaviors. And remember, we aren’t going to bail you out. You must work
through all the issues. We love you.”



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Avoiding Pitfalls




    Ι.        AVOID BEING TAKEN ON A “GUILT-TRIP”!
              Avoid falling into one of her manipulative traps
              designed to make you feel guilty and then, want
              to RESCUE her from this horrible experience!

Since we have already mentioned that your daughter’s first response will be that of shock and anger, we would like
to give you an idea of the forms in which this anger will be made manifest—so you are not blind-sided, caught off-
guard, and then quite possibly manipulated into one of her traps.

The primary tactic is to make you feel guilty. If she can play upon your love for her and your sensitivities in this
difficult time, your compassion and kindness, and your instinctive role as care-taker being that you are her parent,
she will arouse such feelings of guilt and concern for her well-being that you will play right into her hands. The
goal in mind . . . to come to her rescue and bring her home. This attempt at trying to make you feel guilty will take
on many forms: the blatant guilt-trip, the bargain, triangulation, and exaggeration. The blatant guilt-trip
confronts you with statements such as, “If you really loved me, you would get me out of here.” The bargain sounds
like, “if you take me home now, I promise I will change.” In triangulation, your daughter will attempt to involve a
third person (such as, the advisor, the therapist, the other separated parent, etc.) in a manner such as telling half-
truths about that third person so as to get him/her “in trouble.” By creating an unpleasant picture of the third
person, the heat is taken off of her and placed somewhere else. Similarly, the exaggeration method creates a
story about the experience that is so horrible that you must come to their rescue. Oftentimes, the girls will also
purposefully put a miserable, painful expression on their faces when we attempt to take pictures just to play the
part of the victim.

                      These tactics are designed to make you feel guilty, to weaken your resolve,
                                             and to get you to rescue her.

Do not let the weight of the “guilt-trip” overpower you. As long as your daughter thinks there is a chance to
control you by these manipulative techniques, she will continue to work on you until she attains her goal—going
home. The sooner she realizes that this tactic will not work, the sooner she will buckle down and actually begin
working on herself! Therefore, you must clearly communicate to her that it is up to her to work through her
issues and that you will not bail her out. You will help your daughter the most by no longer allowing her to
manipulate her way out of consequences.

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   ΙΙ      AVOID MAKING DEALS UNDER THE TABLE!!
           Avoid feeling compelled to “hold a carrot” in
           front of your daughter—she can be motivated
           without a goal!


Another one of her tactics may involve an attempt to get you to either commit to a discharge date or to promise to
take her home by a certain level. This type of deal-making often occurs during a parent visit. Your daughter may
try to impress you with her good behavior and get you to feel guilty for not wanting to take her home right away.
Do not feel like you have to reward her behavior and some positive changes that she may have made thus far—
remember: you have been down this road before! Keep in mind the many times she has promised change or said,
“I’m sorry”, when in fact, she had no intention of permanent change. Remember she has had many years of
experience building up her collection of bad habits and practicing her skills at manipulating you, but has only had a
few months of experience (if even that long) developing positive changes to her attitudes and behaviors—these
changes are not rooted deep enough into her personality to be considered habits yet!

Also, you are a vital part of the treatment team, if your daughter is trying to get information out of you that the
treatment team has agreed not to share with her at the present time or does not know definitively at the moment,
recognize this as a manipulation tactic—“DIVIDE AND CONQUER.” I am certain that this sounds familiar to you
and may be one of her favorite tactics to use at home as well—to divide both parents and get you working against
each other. Since she is in a different environment, her attempts at division most likely will be to get the parents
divided from the TTS staff. Also, do not attempt to “coach” your daughter on how to perform for the staff, or
which hoops to jump through in order to get out of here sooner—this, too, results in the parents working against
the treatment team instead of with it. Ultimately, the result of this kind of deal-making is a short-term
adjustment of behavior without a lasting internalization and genuine change.




   ΙΙΙ.    AVOID “ENABLING”!!!
           Avoid feeling like you have to shield your
           daughter from experiencing the full impact
           of her harmful behaviors!

Another common pitfall for parents is enabling. It is a common fault of parents since it flows out of their natural
desire to love and protect their children. What is enabling? It is when a person reacts to another person in such a
way as to shield that other person from experiencing the full impact of their harmful behaviors. We assist, we
encourage, we are loyal, we support, we accommodate, we fix, we protect, we take care of, we help, we stand by, we
work for, we befriend, we nurse, we serve, we do it all. Why do we do this? Because we care.



                 So what is the problem with all of these seemingly unselfish, altruistic behaviors?
                  They rescue your daughter from feeling the consequences of her misbehaviors!

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When the family or one parent in particular takes responsibility for the misbehaving child’s actions, then the child
doesn’t have to! Since a child in this type of situation never feels the negative consequences of her misbehavior,
she will never be motivated to change.

Mental health professionals have seen the destructive influence of enabling for decades particularly in families
involving drug/alcohol addictions. Although this has been identified by professionals as destructive, there seems
to be conflicting views regarding parenting as a whole. Due to the secularized and pluralistic culture that we live in,
individualism and subjectivist philosophies have made their mark upon psychology, parenting philosophies, as well as
other related fields of study. Thus, these philosophies are represented by such statements as: “I cannot impose
my morals on others,” “What is true for me may not be true for you,” “We each have a right to do what we want
and pursue our own personal happiness (regardless of the impact that it has on others),” etc.

In light of these prevalent beliefs and philosophies of our culture, parents are reduced to nothing more than “older
friends” to their children—they are made to believe that they should not “impose their beliefs or moral
preferences” upon their children and that any form of discipline can be construed as “abusive” or damaging to the
child’s rights and/or self-esteem. Psychologists and therapists across the nation are now seeing the errors of the
recent decades in family therapy in which this “children first” model reigned. This model took the authority away
from the parents and put it in the hands of the children—this was largely affected through an overly exaggerated
concern for the self-esteem and “rights” of the child. Thus, the power entrusted to parents for the education and
raising of their children has been reduced to nothing more than an innocuous responsibility to provide the
“necessities of life” for your child, thereby reducing the parents to monetary servants to the development of their
children. This loss of parental power and the roles of educator, disciplinarian, and moral guide has left children the
“right” to raise themselves and parents afraid that any discipline may be damaging to their child—this results in
generations of enabling parents!




   Ις.     AVOID “BLURRED BOUNDARIES”!!!
           Avoid putting your daughter in a parental position!
           This can happen in a variety of ways: by giving her
           too much information, by allowing her to make too
           many “parental” decisions, by giving her too much
           power, by responding to her every complaint or
           desire, etc.



 Blurred boundaries are difficult to detect since most families are unaware of boundary issues; plus, they are
difficult to remedy due to the fact that boundary issues are oftentimes learned behaviors from one’s own family of
origin and therefore, are old habits difficult to break. Blurred boundaries may be difficult to work on, but
definitely not impossible!! And the rewards are worth it!!

What are blurred boundaries? It is as it suggests—a family dynamic which involves indistinct, if not reversed,
definitions of the parent-child roles. In family situations in which there are blurred boundaries, the power lies in
the hands of the child, rather than in its appropriate place—in the hands of the parent(s). This can occur through
the transferal of power by one or both parents—whether it is one or both, the consequences are devastating in the

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child and lead to destructive, problematic behavior in the child. Thus, both parents must be invested in this
process and willing to work on themselves as individuals and together as a united front for the betterment of your
daughter.

As we have already mentioned, blurred boundaries are often difficult to see, but we would like to give you some
questions to help stimulate self-reflection and discovery of issues that need to be worked on before your daughter
returns to your home. Once addressed, this will lead to greater success for your daughter and more fulfilling
relationships within the entire family.

As you read through these questions, we would invite you to prayerfully consider them (with the help of the Holy
Spirit) as a sort of parental examination of conscience. If you feel that this issue of blurred boundaries may apply
to your family system in some way, please let us know so that we may provide you with greater family assistance.

Have you run to the aid of your child whenever she gets in trouble? Do you find yourself siding with your child’s
version of the story more often than with the other parent, the teacher, the staff at TTS, etc.? Do you try to
rescue your child from negative consequences to her behaviors in order to try to “protect her self-esteem”?
Whenever your child gets in trouble (either with outside professionals or even the other parent), does it feel like a
personal attack to your parenting skills or your own self-esteem? Do you find that you would much rather pour
your energy into your children than into your marriage? Do your child’s negative behaviors provide a welcomed
distraction from marital issues? Do you find yourself telling your child about personal struggles so that you might
feel better? Do you find yourself “venting you feelings” to your child or even just in front of your child? Does the
child know too much information about marital difficulties or problems that should be solved by the parents? Do
you find yourself fighting feelings of inadequacy whenever your child does not succeed at something?

If these examples or any others seem to fit your family dynamic, let us know so that we may help you to restore
your daughter to the role of a child rather than her previously held role of “quasi-parent.”




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        Phone Calls




Trinity Teen Solutions, Inc. has strict guidelines regarding whom your daughter may contact by phone and when. This policy is
to insure safety of all staff and clients that are at Trinity. Everything coming into Trinity will be subjected to a search for
contraband or any other materials that are against Trinity’s philosophy.

NEVER GIVE OUT YOUR DAUGHTER’S WHERE ABOUTS TO ANYONE! THIS IS FOR HER SAFETY AND FOR ALL OF
TRINITY.

Our goal is to motivate your daughter to make internal changes. We have found that in order to get your daughter to look
within herself we must minimize external distractions and contact with family.

    •     Phone contact is determined by the treatment team taking into consideration what is beneficial for your daughter
          progress in treatment and is based on the uniqueness of the client and her family.             WE MAY MAKE
          RECOMMENDATIONS THAT DO NOT FOLLOW THESE GUIDELINES IF WE DEEM IT BENEFICIAL TO HER
          TREATMENT. As a general rule the following guidelines are set forth:

                      GENERAL PHONE CALL GUIDELINES:

                           Level 1- The therapist will be on the phone with you weekly until you get on the phone with your
                            daughter. Phone calls are based on your daughter’s compliance and if she has ceased her maladaptive
                            ways of interacting with her parents. Usually this takes about 30-60days. Initially, all phone calls
                            with your daughter will be facilitated weekly by the therapist. After it is determined your daughter
                            has learned to effectively communicate with you, the phone calls will alternate between being
                            facilitated by the therapist or by a staff member.

                           Level 2- Weekly phone calls for 15 minutes every week, alternating between calls with the therapist
                            and calls facilitated by a staff member. These calls are with parents and/or guardians only.

                           Level 3- Weekly phone calls for 15 minutes, supervised by staff and with parents and/ or guardians
                            only

                           Level 4- Weekly phone calls for 15 minutes. If calls are productive, then the calls may be 20 minutes,
                            supervised by staff and with parents and/or guardians only

                           Level 5- Unsupervised weekly phone calls for 20 minutes with parents, extended family and parent-
                            approved friends.

    •     The girls have no unapproved access to phones. If you find out that your daughter has made calls to anyone, call Trinity
          immediately and let us know.

    •     We have found it better for children adjusting to the ranch and its schedules that there be no phone calls to parents
          during the initial stages of their stay. This allows them to concentrate on learning the rules and making adjustments to
          living at the ranch. Your daughter’s therapist will call you and give you an update about your daughter and answer any
          questions that you may have regarding her therapy. Also these Family Session phone calls are to help you begin to work
          on your parental, individual and family issues that have brought your daughter into treatment.

    •     As a rule, all parents/guardians that have the duty of supervising, raising and making decisions for the client will be on
          the Family phone calls at the same time with the therapist and their daughter. Regardless of conflict between parents,

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        there will be no separate phone calls made in order to accommodate them. TTS strives to heal the dysfunctional family
        systems that have brought your daughter to treatment, therefore we will not enable any dysfunctional processes.
        Exceptions to these rules will be considered on an individual basis and with the approval of the treatment team, taking
        into consideration the best interests of your daughter and her progress in the program. This policy allows your
        daughter to concentrate on her own concerns.

    •   Phone calls are always subject to supervision and approval by the treatment team.

The most powerful and destructive event that can happen while your daughter is at TTS, are phone calls. This can be a great
therapeutic tool if used properly to help her and you grow. Unfortunately, one the most difficult things for parents is receiving
the recommendations and implementing those recommendations in the phone calls with their daughter.

When you begin to talk to your daughter there will be many emotions involved. That is why we have developed very detailed and
very important rules for participation. Our goal is to teach both you and her new patterns of interaction, so that when she
returns home you do not revert back to your old destructive patterns of interacting with each other. Some parents have
requested to delay talking to their daughter until they have healed and dealt with their own personal issues. If this is you,
PLEASE let us know. That does not mean you are a bad parent. On contrary, it is good for your daughter to realize how she has
hurt and damaged her relationships.



                       Rules of participation for phone calls:
    •   YOUR DAUGHTER WILL NOT BE GIVEN ANY RULES OF PARTICIPATION REGARDING PHONE CALLS. The reason is we want to
        see TRULY where she is in her relationship with you. We will use what ever she presents in therapy to help her grow.

    •   Keep in mind that the goal is to assist your daughter to look deep within herself for her strengths, and to eradicate the weaknesses
        that are destroying her life.

    •   Phone calls are for the allotted time and frequency that is in your daughter’s plan of treatment. Refrain from going over the time.
        This teaches her that rules and earned privileges do not matter. We will terminate the call at the allotted time if you don’t.

    •   When talking to her ensure that she remains within these guidelines in order to assist her in growing in virtue and eradicating her
        problematic behaviors.

    •   When talking to your daughter do not discuss when she returns home or possible discharge dates. We want her to focus on each day
        and in the here and now, not in the future or in the past. This keeps her dealing with the issues at hand and prevents her from living
        in the future.

    •   Keep conversations directed on your daughter and her issues. Do not talk to your daughter about issues that will distract her from
        focusing on herself and the changes she needs to make before being able to return home.

    •   It is a tendency for parents to want to ease the pain of their children and to comfort them, we have found that this enables her to
        continue her problematic behaviors. Please refrain from conversation that is too “soft”—remember your participation in this process
        is critical—the more you stay focused on the core issues, the more she will!!

    •   Refrain from talking about when she comes home, the plans for her being at home, or what is going on at home. Talk about her and her
        issues.

    •   When receiving contact from the family, we have found it better for children not to be burdened with problems the family might be
        having.

    •   Avoid conversations that discuss the “weather” or what is going on at home, distract her from her own work and consequences.

    •   Avoid conversation that are “cheering her on or cheering her up,” only makes her think “I can do whatever I want and everyone is
        sweeping the real issues under the carpet.”




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•   Avoid conversations that are all about how wonderful she is, how loved she is and how you will always be there for her no matter what,
    and you forgive her no matter what. She thinks, “so if that’s the case why am I here?”

•   Avoid conversations that take blame, blame a spouse or others for the daughter’s behavior.

•   Avoid being taken on a guilt trip. Avoid falling into one of her manipulative traps designed to make you feel guilty and then motivate
    you to rescue her from this horrible experience.

•   Clearly communicate to her that it is up to her to work through her issues and that you will not bail her out.

•   Avoid making deals under the table. Avoid feeling compelled to “hold a carrot” in front of your daughter-she can be motivated without
    being bribed.

•   Avoid enabling her. Avoid feeling like you have to shield your daughter from experiencing the full impact of her harmful behaviors.

•   Avoid “Blurred Boundaries”. Avoid putting your daughter in a parental position. This can happen in a variety of ways: by giving her too
    much information, by allowing her to make too many “parental decisions, by giving her too much power, by responding to her every
    complaint or desire, etc.

•   You should terminate the phone call (and if you don’t recognize it TTS staff will terminate the call) at anytime if your daughter
    becomes rude, abusive, manipulative, over-exaggerating, lying, dramatic, blaming, guilt loading parents, trying to get parents to rescue
    her, playing one parent against the other, and any other reason that TTS deems necessary.

•   If you have any questions regarding topics of which you are unsure, please feel free to contact your daughter’s therapist with these,
    and any questions you might have.

•   Discuss concerns and issues or address any question that you may have with your therapist on the bi-weekly phone call. Refrain from
    putting your daughter in the power seat over the staff, this just extends the time of her treatment because she is now above the
    staff.

•   Refrain from siding with your daughter against one of the parents. This is a time for all adults to come together to help her to grow.
    Remember, as long as there is a door open she will take it. Pose a united front between the parents during the phone call.

•   Allow TTS staff to coach you into new ways of interacting and parenting your daughter. That is why we are here. It is imperative for
    new patterns of behavior to emerge during her treatment here, in order to allow for growth of the entire family system.

•   If at anytime the parent interactions are hindering her growth, TTS reserves the right to suspend the phone calls until she or the
    parents have addressed the treatment issues that are interfering. This is to allow all parties to focus on their issues without being
    distracted by the family system issues.




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Mail

Trinity Teen Solutions, Inc. has strict guidelines for when and whom your daughter has contact with by mail. This policy is to
insure safety of all staff and clients that are at Trinity. Everything coming into Trinity will be subjected to a search for
contraband or any other materials that are against Trinity’s philosophy.

NEVER GIVE OUT YOUR DAUGHTER’S WHERE-ABOUTS TO ANYONE! THIS IS FOR HER SAFETY AND FOR ALL OF
TRINITY.

You need to insure that your mail is AT Trinity by Thursday of each week in order to be reviewed by the TTS staff and
given to your daughter on Sunday of the same week. If mail is received after Thursday then it will be given to her the
NEXT weeks Sunday.

Mail is encouraged always. This is the best way to begin communication with your daughter and to assess for emotional and
spiritual growth. We would like to encourage you to write to your daughter and provide you with some suggestions as to how to
begin communication.

Mail contact is determined by the treatment team taking into consideration what is beneficial for your daughter progress in
treatment and is based on the uniqueness of the client and her family. WE MAY MAKE RECOMMENDATIONS THAT DO NOT
FOLLOW THESE GUIDELINES IF WE DEEM IT BENEFICIAL TO HER TREATMENT. As a general rule the following
guidelines are set forth:

       •   Keep in mind that the goal is to assist your daughter to look deep within herself for her strengths, and to eradicate the
           weaknesses that are destroying her life.

       •   When writing letters ensure that they stay within the guidelines to assist her to grow virtues and eradicate her
           problematic behaviors.

       •   It is a tendency for parents to want to ease the pain of their children and to comfort them, we have found that this
           enables her to not change behaviors. Please refrain from sending too much mail or mail that is too “soft”—remember
           your participation in this process is critical—the more you stay focused on the core issues, the more she will!!

       •   Refrain from writing about when she comes home and the plans, or what is going on at home. Write about her and her
           issues.

       •   When receiving contact from the family, we have found it better for children not to be burdened with problems the
           family might be having.




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•   Mail is determined by what is in the best interest and need of you daughter to help her progress in treatment. These
    are just guidelines but are always at the discretion of the treatment team; (please see the Changes and Challenges
    section in the Holy Cowgirl Manual for more details).

        a)    level 1-she can write and receive mail to and from her parents and/or guardians

        b)    level 2- If the treatment team deems it beneficial to her treatment she can write/receive mail from siblings,
              as well as write and receive mail to/from parents and guardians.

        c)    Level 3- If the treatment team deems it beneficial to her treatment she can write/receive mail from siblings,
              as well as write and receive mail to/from parents and guardians and her extended family.

        d)    Level 4- Same as level three

        e)    Level 5- If the treatment team deems it beneficial to her treatment she can write/receive mail from siblings,
              as well as write and receive mail to/from parents and guardians and her extended family and from parent and
              treatment team approved friends.

•   Your daughter’s advisor will make recommendations regarding the content of the mail to help you to interact with your
    daughter in a manner that will encourage her emotional growth. We will make recommendations to you, however if you
    refuse to comply with the recommendations the mail will be given the way that it is. No mail will ever be withheld from
    the admitting parent/guardian to their daughter.

•   All mail must be sent first to the parents or responsible guardian—and then the parents may forward the mail to
    Trinity if they so choose.

•   All mail is subjected to a search and is read by Trinity staff regardless of who it is from.

•   Only a few photos of immediate family that depict the changes you are praying your daughter achieves. For example do
    not send photos of her high, or partying, dressed immodest, or immodest photos of other family members. Photos are
    very distracting to your daughter and the other girls in the program. Remember our goal is that she focuses every day
    on herself and her therapy.




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Gifts

Trinity Teen Solutions, Inc. has strict guidelines for what your daughter can have at the ranch. Space is limited and they live in
rustic cabins with 13 other girls, so things get dirty and destroyed easily. This policy is to insure safety of all staff and clients
that are at Trinity. Everything coming into Trinity will be subjected to a search for contraband or any other materials that are
against Trinity’s philosophy.

All items that your daughter will need during her stay are provided by Trinity. Therefore the need to send gifts is limited.
Please refrain from sending gifts except for major holidays and birthdays. REMEMBER: A person changes only when they are
uncomfortable where they are—if you swamp your daughter with gifts and presents, she will not feel the need to change!!
Remember why you sent her to us—THIS IS NOT SUMMER CAMP!!

Here are some guidelines for gifts.
   •    DO NOT send money to your child.
   •    Do not send clothing or jewelry to your child.
   •    Gifts need to be approved by Trinity.
   •    We have a nutritional program so sweets and carbohydrates are limited.
   •    You may send healthy nutritious snacks.
   •    You may send a FEW photos of immediate family members only.
   •    You may send stationary and pens
   •    You may send books approved by Trinity
   •    Please remember that visitation time is for talking and listening to each other, not a time to bring gifts. Save gifts
        for the special time of her birthday.
   •    Any food items that are sent needs to be enough to share with all the girls and staff.




WHEN CONSIDERING WHAT ITEMS YOU MAY WANT TO SEND YOUR DAUGHTER, PLEASE
KEEP IN MIND THAT YOU ARE RESPONSIBLE FOR TRANSPORTING EVERYTHING BACK TO
YOUR HOME.

TOO MANY GIFTS MAY BE SENT BACK TO PARENT AT PARENT’S EXPENSE.                                                          TRINITY
WILL NOT SHIP ANY BELONGINGS AFTER DISCHARGE.

GIFTS TO TRINITY TEEN SOLUTIONS
Most parents during their daughter’s treatment and during the holidays want to send gifts to Trinity Teen
Solution’s staff, therapist and/or advisor. In order to maintain objectivity and professionalism for the staff no
personal gifts to individuals are allowed. Instead we would appreciate any size of financial contributions to the
Safe Haven Arena Fund to help us build our dream indoor riding arena. Please go to
http://www.fundbunch.com/hubs/trinityteensolutions.aspx to make your gift that will benefit many families and
their daughters for years to come.




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Visitation
Trinity Teen Solutions, Inc. has strict guidelines for who and what is allowed on the property. This policy is to insure safety of
all the staff and clients that are at Trinity. Everything coming into Trinity will be subject to a search for contraband or any
other materials that are against Trinity’s philosophy.


Our goal is to motivate your daughter to make internal changes. As we have mentioned over and
over in this handbook, a person will only change when they are too uncomfortable in the state that
they are presently in. We have found that in order to get your daughter to look within herself, we
must minimize external distractions and any opportunities she may have to feel comfortable where she is
interiorly; thus, the reason why we have a visitation policy and try to limit contact with family.

The visitation policy is as follows:

    •    Only scheduled visitations are allowed that have been approved by the treatment team that will best benefit your
         daughter’s progress. This assessment will depend upon both the progress made by your family and an evaluation of the
         receptivity of your daughter’s heart. Visits prior to six months are rare.

    •    Your daughter is not allowed to leave the ranch without permission. If your daughter does leave the ranch for
         visitation she will be your sole responsibility. All of Trinity’s belongings need to be returned back to Trinity. Upon
         return to Trinity, your daughter will be subjected to a search for contraband.

    •    Only visits by parents or guardians who have legal custody are allowed. No one else is allowed to visit.

    •    No personal belongings or gifts are allowed to be given to your daughter, staff or other girls in the program during
         visitations that have not been approved.

    •    All belongings and gifts will be searched for contraband.

    •    After your daughter has been discharged to your care there will be no visits to Trinity that are not approved by the
         treatment team. No giving of gifts to staff or clients without approval from treatment team.




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WHAT TO DO, WHERE TO GO WHEN YOU VISIT

        We can give you ideas of what to do with your child while you are visiting her at the ranch. The purpose of the visit is
to re-establish communication between you and your child.

       THEREFORE, DURING VISITING TIMES, THE MOST IMPORTANT THING YOU CAN DO WITH YOUR CHILD
IS TO TALK WITH HER!

        Find out how she is doing, both on the ranch and in school – remembering that not everything she might tell you is true.
Please check with the staff for clarity. Teenagers will manipulate adults around them to get what they want, and will use any
means they can to get their own way in order to return home.


We suggest you have your child adhere to the rules and regulations of Trinity written in this
handbook.

        1.   Follow the dress code—modesty, modesty, modesty! To prepare for the visit you may bring her two changes of
             clothes from home. If she has grown we recommend that you get her new sizes from her advisor or she could wear
             her Trinity clothing. We strongly discourage taking her shopping for clothes.

        2.   Your visit to her is the gift in itself. However if you want to buy her something small that is fine.

        3.   Remember your daughter has destroyed her trust with you, so DO NOT TRUST her on the visit.

        4.   Never let your daughter be unattended at anytime, for any reason.

        5.   No cigarettes, tobacco, alcohol or drugs. If your daughter smoked and drank be aware of ash trays and cigarettes
             butts laying on the ground and partially empty alcohol containers in lounge or dumpster areas.

        6.   Behavior: Maintain proper respect; no foul, obscene, or abusive language; DO NOT ALLOW HER TO GET AWAY
             WITH ANY MANIPULATION, LYING OR BLAMING OTHERS!!

        7.   A healthy dose of skepticism is a good rule of thumb.

        8.   Do not leave unsupervised. Remember they broke your trust and they need to know this.

        9.   Do not send your daughter back to Trinity with any items not approved.           We have limited space and are not
             responsible if anything gets damaged or lost.

        10. Parents may decide to call other family members and these phone calls and any phone calls made are to be
            monitored.

        11. Do not allow her to call any of her previous friends (unless this is recommended by the TTS treatment team for
            treatment purposes)—this is not a time to get reconnected with friends (whether approved or unapproved friends).
            She is still in the program and the most important relationships that she needs to build and repair are those within
            your family.

        12. This is not the time for pampering your daughter with trips to the spa or beauty salon, expensive gifts or outings—
            this is a time for difficult conversations, repairing relationships, apologies and forgiveness, and honest
            confrontations of what was truly going on and what needs to change in your daughter’s life. Do not waste time with
            activities that will be more appropriate after your daughter has completed the program.



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        13. Plan events that are interactive. Remember this is a working trip not a vacation and your role is to begin relating to
            your daughter in a different manner. We discourage movies or other activities that do not encourage healthy
            communication interactions

        14. No internet access or use.

        15. DO NOT give them time tables of any kind. Like when she will be coming home, or any future plans. When a child
            knows these kind of time tables, they just buy time in the program and do not dig deep within themselves to
            change.

        16. Assist us in the treatment of your daughter by observing her interactions during the visit.

        17. If there are any problems you can return her early. Just bring her back to the ranch and find a staff member to
            leave her with.

        18. Keep in mind that a substantial aspect of the program is her nutritional health. The girls are on limited sugar intake
            so therefore over loading of sweets may make her physically ill.

        19. Your daughter also may experience sensory overload. We advise limited television use. If used monitor for moral
            content. Do not bring her MP 3 or IPOD player nor allow her to “lose herself” in the music.

        20. Have her back by 6PM and make sure she is “handed over” to a staff member.



Possible places to go with your daughter: (Check out Parent Portal on our web page for many visitation
tips)

        1.   Stay in Cody, WY—visit the museum or other sites in Cody
        2.   Yellowstone Park
        3.   Red Lodge, MT, i.e. Skiing, Hiking, etc.
        4.   Fishing and picnicking in Clarks Fork Canyon

Visitation is an earned privilege. Please do not do anything that may jeopardize this privilege for your child. (Due to insurance
concerns, we cannot invite families to ride horses while at the ranch. Unlicensed drivers who are ranch residents cannot drive
vehicles belonging to relatives or friends either on or off the Ranch.)

ALWAYS ENCOURAGE YOUR CHILD TO DO HER BEST WHILE SHE IS AT THE RANCH so these attitudes will become a
habit when she returns home.




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Clothing and Personal Possessions


All personal belongings and clothing on admission will be subject to a search for contraband and all
contraband will be destroyed. Her personal belongings are placed in a bin and stored until discharge, so
please minimize her personal possessions.

All girls are dispensed Trinity appropriate ranch wear that they will wear during their stay at Trinity.
These items will be returned back to Trinity on discharge.

At discharge she will be given back her stored belongings so that she can wear them home (unless they
are entirely inappropriate or they have been destroyed in her ceremony—then other provisions must be
made at that time).

You may need to bring her more clothing when you pick her up for the Family Sessions and take her off
the ranch.

Only glasses, glass cases, contacts, retainers, medications, or any other items that are approved by
Trinity will be allowed.




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You are financially responsible for all medical/dental/eye issues for your child that may occur during her
stay. This will be through your own family medical insurance or cash payment. Trinity Teen Solutions,
Inc. is not responsible for any medical bills.

All of the staff are trained in First Aid, CPR, and other medical and health issues on a regular and
ongoing basis. Many of our staff have had additional training through previous jobs.

You will be notified as quickly as possible, should your child be involved in an accident or a serious illness
during her stay at TTS. It would be good to talk with the staff regarding your child’s health if you are
concerned.




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Common Mistakes




In our studies on the successful transition of kids returning home from a program, we have found that
when a child returns to previous behaviors it is often due to some common mistakes made by the parents
when the child first arrives home.

1.) Do not try to “make it up” to your daughter for sending her away.
      This can take on several different forms: major shopping sprees, elaborate vacations, promises to give them a car or
      vacation in the future, “emotional band-aids” such as going easy on the consequences or giving too much trust too soon,
      etc.


2.) Do not automatically assume that she is trustworthy since she has completed the program.
      The first months after your daughter’s return home are the most crucial—she will attempt to test the boundaries to see
      if you have made lasting changes to your parenting style. Your attitude of consistent rules and follow-through on
      consequences will set the tone for years to come. She will learn that you continue to mean business even after being sent
      away.


3.) Do not pull away at any of the threads of Trinity’s philosophy.
      If you pull on one, the entire rug will unravel—this will pull the rug out from under her feet and leave her without the
      foundation on which she has built her new identity. This, too, can take many forms: criticizing any of the staff or
      practices of Trinity, questioning the religious beliefs or practices of TTS, not keeping scheduled phone appointments or
      following through on other discharge practices, etc.


4.) Do not take away from your daughter’s responsibility for her own behavior.
      Often when parents see their own role in their daughter’s formation they begin to feel guilty about some of their
      parenting mistakes in the past or one may see the errors in the other parent’s ways of handling things—do not apologize
      so much that it takes the responsibility off of your daughter’s shoulders and do not complain or criticize about the other
      parent in front of your daughter.


5.) Do not give her any indication of weakness in the parental armor.
      Teenagers (particularly at-risk teens) often make the best lawyers—they are keenly aware of loopholes in the system, or
      chinks in the armor of parental discipline. If parents do not provide the teen with a “unified front,” she will employ the
      tried-and-true tactic—divide and conquer. Parents must maintain consistent and clear messages that do not change from
      one parent to another. Never complain about or disagree with the other parent in front of your daughter—parents you
      must work out your differences behind closed doors!!!




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                              PARENT INFORMED CONSENT
After reading this Parent Handbook, please feel free to address any questions or concerns that you may have before signing and
returning the document. Both parent(s)/guardian(s) need to sign.

                                           AGREE TO PARTICIPATE

I have read this informative Parent Handbook and I agree to participate in the Treatment Program, compliment the
philosophies and encourage growth in myself, my spouse, and my daughter.

____________________________________________                          ________________
       Parent/Guardian Signature                                             Date


I have read this informative Parent Handbook and I agree to participate in the Treatment Program, compliment the
philosophies and encourage growth in myself, my spouse, and my daughter

____________________________________________                          ________________
       Parent/Guardian Signature                                             Date


                                           REFUSE TO PARTICIPATE


I have read this informative Parent Handbook and I refuse to participate in the Trinity Treatment Program

_____________________________________                                 ________________
       Parent/Guardian Signature                                             Date



I have read this informative Parent Handbook and I refuse to participate in the Trinity Treatment Program

_____________________________________                                 ________________
       Parent/Guardian Signature                                             Date

Please Fax to Trinity at 307-645-3385 or Mail to Trinity. Address: Trinity Teen Solutions, Inc
                                                                       89 RD 8 RA
                                                                       Powell, WY 82435
                                                                       Phone 307-645-3384
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   Recommended Reading for Parents



                                 Recommended
                                   Reading
                                     For
                                   Parents


Nutrition and Addiction:
                                                         Parenting and Teen Issues:
   1.) Depression Free Naturally—
                                                           1)  Parent in Control—Gregory
       Joan Mathews
                                                               Bodenhamer
   2.) Diet Cure—Julia Ross
                                                           2) Back in Control—Gregory
   3.) Seven Weeks to Sobriety—Joan
                                                               Bodenhamer
       Mathews
                                                           3) Overindulged Children—Dr. James
                                                               Fogarty
                                                           4) Boundaries—Dr Henry Cloud, Dr
          Necessities:                                         John Townsend
               1.) The Bible                               5) Safe People—Dr. Henry Cloud & Dr.
               2.) Christian Prayer: The                       JohnTownsend
                   Liturgy of the Hours                    6) Reviving Ophelia—Dr. Mary Pipher
               3.) My Daily Bread-Anthony J                7) A Safe Place- Jan Morrison
                   Poane S.J.                              8) Love Is A Choice—Frank Minirth,
                                                               Dr. Robert Hemfelt, Dr. Paul Meier
                                                           9) Don’t Sweat the Small Stuff
                                                               Workbook- Richard Carlson, Ph.D.
                                                           10) The Seven Habits of Highly
 Virtues and Spirituality:                                     Effective Teens- Sean Covey
   1.)   The Family Virtues Guide- Linda Kavelin           11) Excess Baggage- Judith Sills, Ph.D.
        Popov
   2.) The Heart of Virtue—Donald DeMarco
   3.) Back to Virtue-Peter Kreeft
                                                         Trinity Favorites:
   4.) Prayer: The Great Conversation- Peter
                                                           1.) Rachel’s Tears—Beth Nimmo and
        Kreeft
                                                               Darrell Scott
   5.) C.S. Lewis Explores Vice and Virtue—
                                                           2.) Hinds’ Feet on High Places—Hannah
        Gerard Reed
                                                               Hurnard
   6.) The 4 Temperaments-C.S. Lewis
                                                           3.) The Great Divorce- C.S. Lewis
   7.) The Imitation of Christ, Thomas à Kempis
                                                           4.) Screwtape Letters- C.S. Lewis
   8.) Reaching Out—Henri Nouwen
                                                           5.) Lessons from a Sheep Dog-Phillip
   9.) Treasury of Women Saints—Ronda De
                                                               Keller
        Sola Chervin
                                                           6.) Passion and Purity- Elisabeth Elliot
   10.) Be Intolerant—Ryan Dobson
                                                           7.) ‘Til We Have Faces- C.S. Lewis
                                                           8.) Space Trilogy-C.S. Lewis (especially
                                                               book 2)


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